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                13       Facsimile: (213) 622-2690

                14       Attorneys for Defendants
                         UNITED HEALTH-CARE INSURANCE COMPANY
                15       and UNITED BEHAVIORAL HEALTH

                16                                   UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF CALIFORNIA
                17                                      SAN FRANCISCO DIVISION
                18       DAVID AND NATASHA WIT, on behalf               Case No. 3:14-CV-02346-JCS
                         of themselves and all others similarly
                19       situated, and BRIAN MUIR, on his own           STIPULATION AND [PROPOSED]
                         behalf and on behalf of all others similarly   ORDER REGARDING (1) DEADLINES
                20       situated,                                      FOR PLAINTIFFS’ FILING OF
                                                                        AMENDED COMPLAINT AND
                21                          Plaintiffs,                 DEFENDANTS’ RESPONSE TO
                                                                        AMENDED COMPLAINT, (2) SETTING
                22              v.                                      BRIEFING SCHEDULE FOR ANY
                                                                        RESPONSIVE MOTION, AND (3)
                23       UNITEDHEALTHCARE INSURANCE                     RESCHEDULING INITIAL CASE
                         COMPANY and UNITED BEHAVIORAL                  MANAGEMENT CONFERENCE AND
                24       HEALTH (operating as OPTUMHEALTH               RULE 26 DEADLINES
                         BEHAVIORAL SOLUTIONS),
                25                                                      [Civil L. R. 6-1; 6-2; 16-2(e)]
                                            Defendants.
                26
                27

                28
  C ROWELL                                                                       STIP. AND [PROPOSED ORDER] RE TIME TO FILE
& M ORING LLP
                                                                                 AND RESPOND TO AMENDED COMPL.; BRIEFING
ATTO RNEY S AT LAW
                                                                                  SCHEDULE & CMC; CASE NO. 3:14-CV-02346-JCS
                            Case 3:14-cv-02346-JCS Document 31 Filed 07/29/14 Page 2 of 6



                     1          WHEREAS, on May 21, 2014, Plaintiffs David Wit, Natasha Wit, and Brian Muir

                     2   (collectively “Plaintiffs”) filed a complaint (“Complaint”) against Defendants United Healthcare

                     3   Insurance Company and United Behavioral Health (collectively “Defendants”);

                     4          WHEREAS, on May 28, 2014, Plaintiffs served on Defendants the summons and

                     5   Complaint;

                     6          WHEREAS, on June 16, 2014, the parties filed a Stipulation and [Proposed] Order, which

                     7   (i) set the deadline for Defendants’ responses to the Complaint for July 18, 2014, set the deadline

                     8   for Plaintiffs’ response to any motions filed by Defendants to August 18, 2014, set the deadline

                     9   for any reply brief filed by Defendants to September 3, 2014, set a hearing for September 26,

                10       2014 and (ii) rescheduled the Initial Case Management Conference and the deadlines imposed by

                11       Federal Rules of Civil Procedure, Rule 26;

                12              WHEREAS, on June 18, 2014, the Court entered an order adopting the schedule set forth

                13       in the parties’ June 16, 2014 Stipulation;

                14              WHEREAS, after June 18, 2014, Defendants determined that there were both factual and

                15       legal bases to respond to the complaint by filing a Motion to Transfer Venue and a Motion to

                16       Dismiss;

                17              WHEREAS, on July 18, 2014, Defendants filed a Motion to Transfer Venue and a Motion

                18       to Dismiss;

                19              WHEREAS, the parties, through their respective counsel, conferred electronically and

                20       telephonically between July 21 and 25, 2014, to discuss (i) Plaintiffs’ intent to file an amended
                21       complaint, (ii) the impact of an amended complaint on the pending Motion to Dismiss and

                22       Motion to Transfer Venue, (iii) the inefficiencies that could be created by adherence to the

                23       previously suggested and approved schedule; (iv) a schedule that would efficiently and

                24       expeditiously allow for resolution of Defendants’ pending Motion to Transfer Venue and any

                25       motion filed in response to Plaintiffs’ proposed amended complaint; and (v) Rule 26 deadlines;

                26              WHEREAS, Defendants intend to keep the pending Motion to Transfer Venue on
                27       calendar with the existing briefing and hearing schedule. Defendants, however, reserve the right

                28       to withdraw the pending Motion to Transfer and file a new motion to transfer, if warranted based
  C ROWELL                                                                          STIP. AND [PROPOSED ORDER] RE TIME TO FILE
& M ORING LLP
ATTO RNEY S AT LAW
                                                                        -1-         AND RESPOND TO AMENDED COMPL.; BRIEFING
                                                                                     SCHEDULE & CMC; CASE NO. 3:14-CV-02346-JCS
                            Case 3:14-cv-02346-JCS Document 31 Filed 07/29/14 Page 3 of 6



                     1   on new allegations in Plaintiffs’ amended complaint. Defendants do not agree that any new

                     2   motion to transfer venue that may be filed by them will be subject to any briefing or hearing

                     3   schedule set forth below; and

                     4             WHEREAS, the parties accordingly have agreed, subject to the approval of the Court, on

                     5   the following schedule for the filing of an amended complaint and any responses to it, the Initial

                     6   Case Management Conference, and Rule 26 deadlines, and the parties have also agreed to leave

                     7   the existing briefing and hearing schedule for Defendants’ pending Motion to Transfer Venue

                     8   unchanged:

                     9             IT IS HEREBY STIPULATED AND AGREED that, subject to the approval of the

                10       Court:

                11                 1.     Except with respect to the briefing and hearing schedule for Defendants’ pending

                12       Motion to Transfer Venue, which are set forth in the paragraphs below, the dates and deadlines

                13       set forth in the current case schedule shall be vacated;

                14                 2.     Plaintiffs shall have until August 18, 2014 to file (i) an amended complaint and (ii)

                15       any opposition to Defendants’ pending Motion to Transfer Venue;

                16                 3.     Defendants shall have until September 3, 2014 to file their reply to any opposition

                17       to Defendants’ pending Motion to Transfer Venue filed by Plaintiffs;

                18                 4.     Defendants shall have until September 10, 2014 to file their responses to the

                19       amended complaint (excluding any new motion to transfer venue);

                20                 5.     The hearing for Defendants’ pending Motion to Transfer Venue shall remain set
                21       for September 26, 2014 at 2:00 PM;

                22                 6.     Plaintiffs shall have until October 10, 2014 to file their opposition to any motion

                23       Defendants file in response to the amended complaint (excluding any new motion to transfer

                24       venue);

                25                 7.     Defendants shall have until October 31, 2014 to file their reply in further support

                26       of any motion they file in response to the amended complaint (excluding any new motion to
                27       transfer venue);

                28                 8.     The hearing for any motion filed by the Defendants in response to the amended
  C ROWELL                                                                            STIP. AND [PROPOSED ORDER] RE TIME TO FILE
& M ORING LLP
ATTO RNEY S AT LAW
                                                                          -2-         AND RESPOND TO AMENDED COMPL.; BRIEFING
                                                                                       SCHEDULE & CMC; CASE NO. 3:14-CV-02346-JCS
                              Case 3:14-cv-02346-JCS Document 31 Filed 07/29/14 Page 4 of 6



                     1   complaint shall be on November 14, 2014 at 2:00 PM (excluding any new motion to transfer

                     2   venue);

                     3             9.    The last day for the parties to conduct their Rule 26(f) Conference shall be

                     4   September 26, 2014;

                     5             10.   The last day to exchange initial disclosures under Rule 26(a)(1) and file a Rule

                     6   26(f) Report shall be October 10, 2014;

                     7             11.   The last day to file a Case Management Statement shall be November 7, 2014; and

                     8             12.   The Initial Case Management Conference shall be continued from September 26,

                     9   2014, to November 14, 2014 at 2:00 p.m.

                10
                         Dated: July 25, 2014                                    CROWELL & MORING LLP
                11

                12                                                                   /s/ Nathaniel P. Bualat
                13                                                                Christopher Flynn
                                                                                 Jennifer D. Romano
                14                                                                Nathaniel P. Bualat
                                                                               Attorneys for Defendants
                15                                                  UNITED HEALTH-CARE INSURANCE COMPANY
                                                                         and UNITED BEHAVIORAL HEALTH
                16

                17

                18       Dated: July 25, 2014                                   ZUCKERMAN SPAEDER LLP
                19
                                                                                       /s/ Jason S. Cowart
                20
                                                                                  D. Brian Hufford
                21                                                                Jason S. Cowart
                                                                               Attorneys for Plaintiffs
                22                                                    DAVID AND NATASHA WIT and BRIAN MUIR
                23
                         //
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  C ROWELL                                                                           STIP. AND [PROPOSED ORDER] RE TIME TO FILE
& M ORING LLP
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                                                                         -3-         AND RESPOND TO AMENDED COMPL.; BRIEFING
                                                                                      SCHEDULE & CMC; CASE NO. 3:14-CV-02346-JCS
                            Case 3:14-cv-02346-JCS Document 31 Filed 07/29/14 Page 5 of 6



                     1                                              ATTESTATION

                     2             Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, I attest that concurrence in the

                     3   filing of this document has been obtained from the other signatories.

                     4
                         Dated: July 25, 2014                         ______________/s/ Nathaniel P. Bualat____________
                     5                                                              Nathaniel P. Bualat
                     6

                     7
                                                                 [PROPOSED] ORDER
                     8
                                   PURSUANT TO STIPULATION, IT IS SO ORDERED:
                     9
                                   1.     Except with respect to the briefing and hearing schedule for Defendants’ pending
                10
                         Motion to Transfer Venue, which are set forth in the paragraphs below, the dates and deadlines
                11
                         set forth in the current case schedule shall be vacated;
                12
                                   2.     Plaintiffs shall have until August 18, 2014 to file (i) an amended complaint and (ii)
                13
                         any opposition to Defendants’ pending Motion to Transfer Venue;
                14
                                   3.     Defendants shall have until September 3, 2014 to file their reply to any opposition
                15
                         to Defendants’ pending Motion to Transfer Venue filed by Plaintiffs;
                16
                                   4.     Defendants shall have until September 10, 2014 to file their responses to the
                17
                         amended complaint (excluding any new motion to transfer venue);
                18
                                5.      The hearing for Defendants’ pending Motion to Transfer Venue shall remain set
                19            October 3, 2014 at 9:30 AM. - JCS
                         for September 26, 2014 at 2:00 PM;
                20
                                   6.     Plaintiffs shall have until October 10, 2014 to file their opposition to any motion
                21
                         Defendants file in response to the amended complaint (excluding any new motion to transfer
                22
                         venue);
                23
                                   7.     Defendants shall have until October 31, 2014 to file their reply in further support
                24
                         of any motion they file in response to the amended complaint (excluding any new motion to
                25
                         transfer venue);
                26
                                   8.     The hearing for any motion filed by the Defendants in response to the amended
                27
                         complaint shall be on November 14, 2014 at 2:00 PM (excluding any new motion to transfer
                28
  C ROWELL                                                                             STIP. AND [PROPOSED ORDER] RE TIME TO FILE
& M ORING LLP
ATTO RNEY S AT LAW
                                                                           -4-         AND RESPOND TO AMENDED COMPL.; BRIEFING
                                                                                        SCHEDULE & CMC; CASE NO. 3:14-CV-02346-JCS
                            Case 3:14-cv-02346-JCS Document 31 Filed 07/29/14 Page 6 of 6



                     1   venue);

                     2             9.     The last day for the parties to conduct their Rule 26(f) Conference shall be

                     3   September 26, 2014;

                     4             10.    The last day to exchange initial disclosures under Rule 26(a)(1) and file a Rule

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                     6             11.    The last day to file a Case Management Statement shall be November 7, 2014; and

                     7             12.    The Initial Case Management Conference shall be continued from September 26,

                     8   2014, to November 14, 2014 at 2:00 p.m.                               S DISTRICT
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                         Dated: _________________, 2014                  _______________________________________
                11                                                                  Hon.ge Joseph   Spero
                                                                                             seph C. C. Spero




                                                                                 NO
                                                                                      Jud Jo




                                                                                                                           FO
                                                                                United States Magistrate Judge


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  C ROWELL                                                                                STIP. AND [PROPOSED ORDER] RE TIME TO FILE
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                                                                          -5-             AND RESPOND TO AMENDED COMPL.; BRIEFING
                                                                                           SCHEDULE & CMC; CASE NO. 3:14-CV-02346-JCS
